Case 1:25-cv-02451-KPF   Document 10-3   Filed 03/28/25   Page 1 of 13




                 EXHIBIT C
     Case 1:25-cv-02451-KPF           Document 10-3           Filed 03/28/25        Page 2 of 13

                                                 U.S. Department of Justice
                                                 Executive Office for Immigration Review
                                                 Board ofImmigration Appeals                       {"identifier":"CNOCP",
                                                 Office of the Clerk
                                                 5107 Leesburg Pike, Suite 2000
                                                 Falls Church, Virginia 22041



FERNANDEZ, LHESLY M.                             DHS/ICE OFFICE OF CHIEF COUNSEL - CHI
NATIONAL IMMIGRANT JUSTICE CE                    525 WEST VAN BUREN STREET
224 S MICHIGAN AVE. SUITE 600                   CHICAGO IL 60607
CHICAGO IL 60604




Name: PANTON, ROBERT SAVIO                       A 031-257-320




                                                 Date of this Notice:         6/23/2021


Enclosed is a copy of the Board's decision and order in the above-referenced case.

                                                 Sincerely,



                                                 Donna Carr
                                                 Chief Clerk



Enclosure

Panel Members:                                   Userteam: Docket
Malphrus, Garry D.
     Case 1:25-cv-02451-KPF           Document 10-3           Filed 03/28/25         Page 3 of 13

                                                 U.S. Department of Justice
                                                 Executive Office for Immigration Review
                                                 Board ofImmigration Appeals
                                                 Office of the Clerk
                                                 5107 Leesburg Pike, Suite 2000
                                                 Falls Church, Virginia 22041



PANTON, ROBERT SAVIO                             DHS/ICE OFFICE OF CHIEF COUNSEL - CHI
A 031257320                                      525 WEST VAN BUREN STREET
                                                 CHICAGO IL 60607




Name: PANTON, ROBERT SAVIO                       A 031-257-320




                                                 Date of this Notice:          6/23/2021


Enclosed is a copy of the Board's decision in the above-referenced case. This copy is being
provided to you as a courtesy. Your attorney or representative has been served with this decision
pursuant to 8 C.F.R. § 1292.5(a). If the attached decision orders that you be removed from the
United States or affirms an Immigration Judge's decision ordering that you be removed, any
petition for review of the attached decision must be filed with and received by the appropriate
court of appeals within 30 days of the date of the decision.

                                                 Sincerely,



                                                 Donna Can­
                                                 Chief Clerk




Enclosure


Panel Members:
Malphrus, Garry D.


                                                Userteam: Docket           ।
       Case 1:25-cv-02451-KPF             Document 10-3       Filed 03/28/25       Page 4 of 13

U.S. Department of Justice                                   Decision of the Board of Immigration Appeals
Executive Office for Immigration Review

Falls Church, Virginia 22041


File: A031 -257-320 - Chicago, IL                            Date:
                                                                               JUN 2 3 2°2'
In re: Robert Savio PANTON

IN REMOVAL PROCEEDINGS

APPEAL

ON BEHALF OF RESPONDENT:                  Lhesly M. Fernandez, Esquire

APPLICATION: Convention Against Torture


    The respondent, a native and citizen of Jamaica, appeals from the January 27, 2021, decision
of the Immigration Judge denying his application for protection under the regulations
implementing the Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment
or Punishment, Dec. 10, 1984, S. Treaty Doc. No. 100-20, 1465 U.N.T.S. 85 (entered into force
for United States Nov. 20,1994) (CAT). 8 C.F.R. §§ 1208.16(c), 1208.17-18. The appeal will be
dismissed.

    We review findings of fact determined by an Immigration Judge, including credibility findings,
under a “clearly erroneous” standard. 8 C.F.R. § 1003.1 (d)(3)(i). We review questions of law,
discretion, and judgment, and all other issues in appeals from decisions of Immigration Judges de
novo. 8 C.F.R. § 1003. l(d)(3)(ii).

    The Immigration Judge denied the respondent’s application for protection under the CAT
based on his determination that the respondent did not meet his burden to show that it is more
likely than not that he would be tortured at the instigation, or with the consent or acquiescence, of
a public official in Jamaica. See 8 C.F.R. §§ 1208.16(c)(2), 1208.18(a)(1). For the reasons stated
by the Immigration Judge, we affirm the denial of the respondent’s application for CAT protection.

    On appeal, the respondent first argues that the Immigration Judge applied the wrong legal
standard in assessing the likelihood that the respondent would be harmed in Jamaica (Respondent’s
Br. at 10-11). We disagree. Our review of the Immigration Judge’s decision shows that he applied
the proper legal standard requiring the respondent to show that it is more likely than not that he
would be tortured if returned to Jamaica (IJ at 4). See 8 C.F.R. § 1208.16(c)(2).

    Next, the respondent argues that the Immigration Judge erred by not considering all of the
record evidence cumulatively in assessing the respondent’s claim for protection (Respondent’s Br.
at 11-17). Again, we disagree. The Immigration Judge considered all relevant facts in the record,
including the respondent’s presence in the United States since he was 4 years old; his past
involvement with drug traffickers; the fact that he was shot in 1991 in New York by someone who
accused him of being a government informant; his 1991 conviction for conspiracy to possess with
intent to distribute heroin; the more than 30 years he served in prison as a result of this conviction;
his belief that he would be targeted by criminal organizations in Jamaica that he asserts believe he
cooperated with the government in the drug case; the fact that he did not cooperate with the
government in the drug case; the fact that one of his codefendants did cooperate with the
       Case 1:25-cv-02451-KPF           Document 10-3         Filed 03/28/25       Page 5 of 13

A031-257-320


government and was sentenced to a much shorter prison term; the fact that the individual who
cooperated with the government was murdered 8 years prior to the final removal hearing; his
connection with his cousin who was affiliated with the Spangler criminal organizations; the fact
that the respondent was once threatened in prison 20 years prior to the final removal hearing and
that the issue was resolved when the respondent was able to establish that he did not cooperate
with the government; the respondent’s compassionate early release from prison; the fact that the
respondent provided information to the government involving the rape of a child that was unrelated
his own criminal case and that this was noted in the order granting him compassionate early
release; and the fact that violent crime and criminal organizations are serious problems in Jamaica
(IJ at 2-5; Tr. at 62-65, 67-69, 71-80; Exhs. 1-2, 4).

    The Immigration Judge properly considered the entirety of the record evidence cumulatively
and determined that the respondent did not meet his burden to show that it is more likely than not
that anyone in Jamaica would specifically target him for harm (IJ at 4-5). See Bernard v. Sessions,
881 F.3d 1042, 1047 (7th Cir. 2018) (explaining that a claim for CAT protection must establish
“that there is a substantial risk that that the [respondent] will be targeted specifically); Matter ofJ-
R-G-P-, T1 I&N Dec. 482, 484 (BIA 2018) (explaining that a claim for CAT protection “must be
considered in terms of the aggregate risk of torture from all sources, and not as separate,
divisible . .. claims”) (citation omitted). The Immigration Judge’s determination is supported by
the lack of non-speculative evidence showing that anyone blames the respondent for the murder
of his former codefendant, believes he cooperated with the government in his criminal case, or
associates him with a rival criminal group based on his cousin’s affiliations. Given the record
before us, we conclude that the Immigration Judge’s factual finding regarding the likelihood of
future harm is not clearly erroneous. See Matter ofZ-Z-O-, 26 I&N Dec. 586, 590 (BIA 2015)
(“[A]n Immigration Judge’s predictive findings of what may or may not occur in the future are
findings of fact, which are subject to a clearly erroneous standard of review.”); see also Cooper v.
Harris, 137 S. Ct. 1455, 1465 (2017) (holding that on clear error review, “[a] finding that is
‘plausible’ in light of the full record—even if another is equally or more so—must govern.”).

    As the record does not establish that it is more likely than not that anyone in Jamaica would
specifically target the respondent for torture, we affirm the Immigration Judge’s determination that
the respondent is ineligible for protection under the CAT. Given our disposition of this matter, it
is unnecessary for us to address the respondent’s appellate arguments regarding government
acquiescence (Respondent’s Br. at 14-16). See INS v. Bagamasbad, 429 U.S. 24, 25 (1976) (“As
a general rule courts and agencies are not required to make findings on issues the decision of which
is unnecessary to the results they reach.”).

   Accordingly, the following order will be entered.

   ORDER: The appeal is dismissed.




                                         FOR THE BOARD



                                                   2
    Case 1:25-cv-02451-KPF         Document 10-3        Filed 03/28/25    Page 6 of 13




                     UNITED STATES DEPARTMENT OF JUSTICE
                   EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                       UNITED STATES IMMIGRATION COURT
                               CHICAGO, ILLINOIS



File: A031-257-320                                                       January 27, 2021

In the Matter of


                                                    )
ROBERT SAVIO PANTON                             )         IN REMOVAL PROCEEDINGS
                                                    )
   RESPONDENT                                   )


CHARGES:             INA Section 237(a)(2)(A)(iii) - convicted of an aggravated felony
                     under Section 101(a)(43)(U) relating to an attempt or conspiracy to
                     commit an offense described in Section 101(a)(43) of the Act.


APPLICATION:         Deferral of removal under the Convention aAgainst Torture.


ON BEHALF OF RESPONDENT: LHESLY NAVARRETE.-FERNANDEZ

ON BEHALF OF DHS: ERIN KEELEY



            ORAL DECISION AND ORDER OF THE IMMIGRATION JUDGE
       The respondent has requested deferral of removal under the Convention

aAgainst Torture. He expresses fear of returning to Jamaica. He has been in the

United States since he was four years old and since approximately 1974. He was

convicted in Federal District Court in the ?th-Southern District of New York of conspiracy

to possess with intent to distribute heroin and sentenced to life imprisonment. He was

granted compassionate release in 2020 during the COVID pandemic and was

subsequently transferred to limmigration detention after his compassionate release from


                                            1
    Case 1:25-cv-02451-KPF          Document 10-3        Filed 03/28/25       Page 7 of 13




federal confinement.

       The respondent acknowledges that because the Court found that he was

convicted of an aggravated felony with a sentence exceeding five years, he is not

eligible for asylum or withholding of removal and he is only eligible for deferral of

removal under the Convention aAgainst Torture. This matter went to an ^individual

hearing today and the Court heard testimony from the respondent and also his sister,

Grace Carrington.

       There are virtually no facts in dispute in this case. The respondent in 1991 was

shot two times by an individual who he says accused him of being an informant in a

drug distribution case that had been recently charged. The respondent had become

involved with individuals who were involved with drug distribution through the

respondent's boxing training position. And eventually, the respondent himself was

arrested while he was in the hospital after being shot and charged with conspiracy to

distribute cocaine in connection with a-distribution involving someone named George

RiveraA who the respondent was training for a boxing competition. In October 1991, the

respondent was convicted of conspiracy with-to possess with intention to distribute 41

kilograms of heroin. At that timOj, his prior criminal history was minimal.

       The respondent expressed a fear that if he returns to Jamaica, the Shower

PossBi which is a criminal organization in Jamaica, or a group called the Spanglers

would take retaliation against him for cooperating with the Ggovernment, even though

the respondent did not actually cooperate against anyone involving any drug offenses.

During the respondent's criminal prosecution, one of the lead members, the lead

defendants-^ became a cooperating witness for the Government and testified against the

respondent and various other defendants. The cooperator was eventually released

from prison after a relatively short prison sentence, ands the respondent went on to



A031-257-320                                  2                            January 27, 2021
    Case 1:25-cv-02451-KPF          Document 10-3        Filed 03/28/25     Page 8 of 13




serve over 30 years in prison.

       The respondent had involvement with various other individuals who he believes

would mark him as a member of a criminal organization in Jamaica if he were returned,

and and-would therefore endanger him. The respondent believes he is linked to the

Spanglers by two people, Ward Johnson, who was murdered eight years ago, and

Bancroft Chen. The respondent worked with Bancroft Chen in 1990 to produce a

record. Bancroft Chen is also a cousin of the respondent on his mother's side, who was

born in Jamaica. The respondent believes that Bancroft was involved with the

Spanglers back in Jamaica.

       The respondent expresses concern that he has no family in Jamaica- and really

that he would be on his own there. Although his sister exoresexpressed willingness to

sly is to help him initially to get settled, she is unable to help him over the long-term

living there. The respondent believes that the Shower Posse controls access to food

and medicine, central essential services, and any ability to obtain employment in

Jamaica, and that they would find out that he was involved with Ward Johnson and that

they may believe that he is involved in his murder as revenge for cooperating against

himthem.T-oOr, they may think that he is involved with the Spanglers because of his

involvement with Bancroft Chen± who he calls also Junior. The respondent also

expressed® concern that his order that granted compassionate release indicates that he

cooperated with the Government on a case unrelated to his drug case involving the

rape of a child, and that was one of the reasons the court gave for granting the

compassionate release of the respondent.

       The Court makes a part of this oral decision and incorporates here the Standard

Language Addendum for Asylum, Withholding of Removal, and Protection under the

Convention against Torture, but only the part of that document related to Convention



A031-257-320                                  3                            January 27, 2021
     Case 1:25-cv-02451-KPF         Document 10-3        Filed 03/28/25     Page 9 of 13




against Torture is relevant to these proceedings because he is not eligible for any other

type of relief.

       To qualify for protection under the Convention against Torture, the respondent

must show that it is more likely than not that he would be tortured if he returned to

Jamaica and the torture would have to by the government or with its acquiescence.r-and

i]t is his burden to show this substantial risk of being tortured. To determine whether

torture is more likely than not to occur, the Court considers the past torture inflicted on

the respondent, evidence that he could relocate to a part of the country where he would

not be tortured, evidence of violations of human rights in the country of removal, and

other relevant information.

        The respondent has submitted a substantial amount of documentation and7

country condition reports describing the human rights conditions in Jamaica. This is

Exhibit 4, tabs D through O. The Court has reviewed all this material and does find that

violent crime and gangs or criminal organizations are a substantial problem in Jamaica

for people who are living there, and this is particularly true of people who are living in

the-poor areas of Jamaica.

        The concern the Court has with the respondent's application is the link between

the respondent's past association with potential members of criminal organizations or

concerns that he may have been a cooperator, and what would happen, evidence that

something bad would actually happen to the respondent if he returns to Jamaica.

The bottom line is the Court finds the respondent's case entirely speculative. The Court

understands why the respondent does not want to return to Jamaica. He has not been

there since he was four years old. But the truth of the matter is the evidence that he

would actually be harmed if he returned to Jamaica is really nonexistent. It is just

essentially the respondent showed that he had some association a long time ago with



A031-257-320                                  4                            January 27, 2021
    Case 1:25-cv-02451-KPF         Document 10-3          Filed 03/28/25   Page 10 of 13




people who may have had some involvement with criminal organizations in Jamaica,

and that criminal organizations are still prevalent in Jamaica now. But the respondent

has not been threatened any time recently. In fact, the only threat he has identified

came 20 years ago and was resolved quickly when the respondent proved that he

actually was serving a life sentence and did not cooperate and did not get a-deal, did

not get a sentence consistent with cooperation in the case. The respondent's fear that

he would be blamed forward's murder eight years ago when the respondent was

incarcerated for 20 years before that and eight years after that is just entirely

speculative. There really is no evidence that the respondent can point to in order to

show that he would be targeted if he returned to Jamaica because of his past

involvement with anybody. In short, because the respondent has simply failed to meet

his burden and he failed to provide evidence that would lead this Court to believe that

he faces a risk in returning to Jamaica greater than the risk of anyone else who lives

there, the Court simply cannot grant the respondent's application, and therefore denies

his application.

       The respondent is not eligible for voluntary departure because of the nature of

his conviction.

       Therefore, the following orders will be entered.

                                         ORDERS

       IT IS HEREBY ORDERED that the respondent is ordered removed from the

United States to Jamaica pursuant to the charge in the Notice to Appear.

       IT IS FURTHER ORDERED that the respondent's application for deferral of

removal under the Convention against Torture be denied.

       IT IS FURTHER ORDERED that the respondent's status as a permanent

resident is hereby terminated.



A031-257-320                                  5                            January 27, 2021
   Case 1:25-cv-02451-KPF   Document 10-3   Filed 03/28/25   Page 11 of 13




A031-257-320                                                 January 27, 2021
   Case 1:25-cv-02451-KPF        Document 10-3      Filed 03/28/25    Page 12 of 13




      Any appeal of this matter is due to the Board of Immigration Appeals no later

than February 26, 2021.




                                        Please see the next page for electronic

signature
                                        COLE, SAMUEL B.
                                        Immigration Judge




A031-257-320                               7                          January 27, 2021
   Case 1:25-cv-02451-KPF   Document 10-3   Filed 03/28/25   Page 13 of 13




//s//

Immigration Judge COLE, SAMUEL B.

i:0e.t|eoir federation services|samuel.b.coleSusdoj.gov on March
22, 2021 at 6:57 PM GMT




A031-257-320                       8                         January 27, 2021
